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                        Exhibit D
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·2·   ·   ·   ·   ·   ·   ·   · · ·UNITED STATES DISTRICT COURT
· ·   ·   ·   ·   ·   ·   ·   ·FOR THE WESTERN DISTRICT OF VIRGINIA
·3·   ·   ·   ·   ·   ·   ·   · · · ·CHARLOTTESVILLE DIVISION
· ·   ·   ·   ·   ·   ·   ·   · · · CASE NO.: 3:17-cv-00072-NKM
·4

·5

·6·   ·ELIZABETH SINES, SETH WISPELWEY,
· ·   ·MARISSA BLAIR, APRIL MUNIZ, MARCUS
·7·   ·MARTIN, NATALIE ROMERO, CHELSEA
· ·   ·ALVARADO, JOHN DOE and THOMAS BAKER,
·8
· ·   · · · Plaintiffs,
·9·   ·v.

10· ·JASON KESSLER, et al.,

11· · · · Defendants.
· · ·__________________________________/
12

13

14· · · · · · REMOTE ZOOM VIDEO DEPOSITION OF DARYL DAVIS

15· · · · · · · · · · · · ·OCTOBER 12, 2021

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19

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22

23· ·Reported by:

24· ·GINA WILLIAMS, RPR, CRR, CRC

25· ·JOB NO. 201066


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·7· · · · · · · · · · · · ·OCTOBER 12, 2021

·8· · · · · · · · · · · · · · ·5:02 p.m.

·9

10· · · · · · · Remote Video Deposition of DARYL DAVIS taken via

11· ·Zoom in the above-titled matter before Gina Williams,

12· ·Registered Professional Reporter and Certified Realtime

13· ·Reporter.

14

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21· · · · · · · · · · · · ·REPORTER'S NOTE:

22· · · · · QUOTATION MARKS ARE USED FOR CLARITY AND DO NOT
· · · · · · · · · ·NECESSARILY REFLECT A DIRECT QUOTE
23

24

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                                                                            Page 3
·1
·2· ·A P P E A R A N C E S:
·3
·4· · · · · · · PAUL, WEISS, RIFKIND, WHARTON & GARRISON
·5· · · · · · · Attorney for Plaintiffs
·6· · · · · · · · · ·2001 K Street NW
·7· · · · · · · · · ·Washington, DC 20006
·8· · · · · · ·By:· ·WILLIAM ISAACSON, ESQ.
·9· · · · · · · · · ·MAKIKO HIROMI, ESQ.
10· · · · · · · · · ·JESSICA PHILLIPS, ESQ.
11
12
13
14
15· · · · · · · THE REBROOK LAW OFFICE
16· · · · · · · Attorney for Jeff Schoep, Matthew Heimbach,
17· · · · · · · Matthew Parrott, Traditionalist Worker Party,
18· · · · · · · National Socialist Movement, and Nationalist
19· · · · · · · Front
20· · · · · · · · · ·6013 Clerkenwell Court
21· · · · · · · · · ·Burke, Virginia 22015
22· · · · · · · By:· WILLIAM REBROOK, IV, ESQ.
23
24
25


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                                                                            Page 4
·1
·2· ·A P P E A R A N C E S (Continued):
·3
·4· · · · · · · DUANE, HAUCK, DAVIS, GRAVATT & CAMPBELL
·5· · · · · · · Attorney for James A. Fields, Jr.
·6· · · · · · · · · ·100 West Franklin Street
·7· · · · · · · · · ·Richmond, Virginia 23220
·8· · · · · · · By:· DAVID CAMPBELL, ESQ.
·9
10
11· · · · · · · KOLENICH LAW OFFICE
12· · · · · · · Attorney for Jason Kessler, Nathan Damigo and
13· · · · · · · Identity Europa, Inc. (Identity Evropa)
14· · · · · · · · · ·9435 Waterstone Boulevard
15· · · · · · · · · ·Cincinnati, Ohio 45249
16· · · · · · · By:· JAMES KOLENICH, ESQ.
17
18
19· ·ALSO PRESENT:· ·PETE SIMI
20· · · · · · · · · ·KATHLEEN BLEE
21· · · · · · · · · ·ACACIA DIETZ
22
23
24· ·VIDEOGRAPHER:· ·JAAROME WILLIAMS
25


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                                                                            Page 5
·1· · · · · · · · · · · · D. DAVIS
·2· · · · ·MS. HIROMI:· We reached out to Mr. ReBrook, who
·3· ·is the attorney for Mr. Schoep and NSM.· He was the
·4· ·attorney who listed Mr. Davis on his witness list.· We
·5· ·have reached out to confirm whether he and Mr. Davis
·6· ·are planning on joining shortly, and we'll keep
·7· ·everyone posted if we hear back.
·8· · · · · · · · · · · · ·- - - -
·9· · · · ·VIDEOGRAPHER:· Good afternoon.· Due to the
10· ·severity of COVID 19 and following the practice of
11· ·social distancing, the court reporter and I will not be
12· ·in the same room with the witness.· Instead, we will
13· ·record this deposition remotely.
14· · · · ·Will all parties stipulate to the validity of the
15· ·recording and remote swearing of the witness?
16· · · · ·MR. ISAACSON:· This is William Isaacson for the
17· ·Plaintiffs.
18· · · · ·Yes.
19· · · · ·MR. KOLENICH:· Jim Kolenich for Defendants
20· ·Kessler, Damigo and Identity Europa.
21· · · · ·Yes.
22· · · · ·MR. CAMPBELL:· Dave Campbell for Defendant James
23· ·Fields.
24· · · · ·Yes.
25· · · · ·COURT REPORTER:· Anyone else?


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                                                                            Page 6
·1· · · · · · · · · · · · D. DAVIS
·2· · · · ·MS. DIETZ:· Acacia Dietz with ReBrook Law.
·3· · · · ·Yes.
·4· · · · ·VIDEOGRAPHER:· This is Media 1 of the remote
·5· ·video deposition of Daryl Davis on October 12, 2021 at
·6· ·5:02 p.m. in the matter of Sines, et al. versus Jason
·7· ·Kessler, et al., in the United States District Court
·8· ·for the Western District of Virginia, Case Number
·9· ·3:17-cv-00072-NKM.
10· · · · ·My name is JaaRome Williams with TSG Reporting.
11· · · · ·Would counsel please introduce themselves for the
12· ·record.
13· · · · ·MR. ISAACSON:· This is William Isaacson from the
14· ·Law Firm of Paul Weiss for the Plaintiffs.
15· · · · ·MR. KOLENICH:· This is Jim Kolenich.· I represent
16· ·Defendants Jason Kessler, Nathan Damigo and Identity
17· ·Europa.
18· · · · ·MR. CAMPBELL:· This is Dave Campbell.                 I
19· ·represent Defendant James Fields.
20· · · · ·MS. HIROMI:· Makiko Hiromi also for Plaintiffs.
21· · · · ·THE WITNESS:· This is Daryl Davis, independent
22· ·witness for Jeff Schoep.
23· · · · ·MR. ISAACSON:· All right.· Well, then Mr. ReBrook
24· ·is not on the line?
25· · · · ·MR. REBROOK:· I'm sorry, I'm not?


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                                                                             Page 7
·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · · · · MR. ISAACSON:· You are?· You didn't enter your
·3· · · · appearance.
·4· · · · · · · MR. REBROOK:· I've said it three times now.
·5· · · · · · · MR. ISAACSON:· Sorry.· We were entering
·6· · · · appearances, and I didn't hear you.
·7· · · · · · · MR. REBROOK:· I'm here.
·8· · · · · · · MR. ISAACSON:· Do you want to go ahead and enter
·9· · · · your appearance?
10· · · · · · · MR. REBROOK:· Edward ReBrook.· I am here.· I am
11· · · · entered.
12· · · · · · · · · · · · · · · - - - -
13· ·WHEREUPON,
14· · · · · · · · · · · · · · DARYL DAVIS
15· ·was called as a witness and, after having been first duly
16· ·sworn, was deposed and testified as follows:
17· ·EXAMINATION
18· ·BY MR. ISAACSON:
19· · · · Q· · ·Mr. Davis, my name is Bill Isaacson.· I'm an
20· ·attorney for the Plaintiffs in this case, and I'll be asking
21· ·you questions today.
22· · · · · · · If you don't understand one of my questions, I'd
23· ·appreciate it if you'd tell me, and I'll rework the question
24· ·for you.
25· · · · A· · ·Very well.· Good afternoon, Mr. Isaacson.


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · Q· · ·Now, you have been listed as a trial witness in
·3· ·this case for the Defendant Mr. Schoep and the National
·4· ·Socialist Movement.
·5· · · · · · · Are you aware of that?
·6· · · · A· · ·I'm aware that I am a witness for Jeff Schoep,
·7· ·not the National Socialist Movement.
·8· · · · · · · He was a part of that during that time that I
·9· ·believe is in question, but I don't represent the National
10· ·Socialist Movement.· I represent Mr. Schoep or I'm
11· ·testifying on his behalf.
12· · · · Q· · ·And so coming in to today you did have an
13· ·understanding that Mr. Schoep had listed you as a witness in
14· ·this case, but not that the National Socialist Movement had
15· ·listed you as a trial witness.
16· · · · · · · Do I have that right?
17· · · · A· · ·That is correct.
18· · · · Q· · ·And how did you come to learn that you were being
19· ·asked to be a witness for Mr. Schoep in this case?
20· · · · A· · ·Because I've been working with Mr. Schoep for --
21· · · · · · · Well, I've known him since --
22· · · · · · · I've known him personally since 2016.· I was
23· ·aware of him long before that.· However, we've been working
24· ·closely together for several years now.
25· · · · Q· · ·But in terms of very specifically how you -- how


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·did you come to learn that you would -- that you were being
·3· ·asked to be a witness for him in this case?
·4· · · · A· · ·Because I was asked by him and his people, you
·5· ·know, would I consider being a character witness.
·6· · · · Q· · ·All right.· And when you say "his people," who
·7· ·are you referring to?
·8· · · · A· · ·Jeff Schoep and Acacia Dietz.
·9· · · · Q· · ·And when was this request made?
10· · · · A· · ·This request was made probably I'd say maybe a
11· ·couple weeks ago -- officially made.
12· · · · Q· · ·And what do you mean by "officially"?
13· · · · A· · ·Like I was asked officially, you know, would you
14· ·consider being this, being a witness for this in this
15· ·particular case.
16· · · · · · · I had talked to Jeff, you know, a while back, you
17· ·know, maybe even six months ago or more, about his upcoming
18· ·thing.· And I said, hey, anything I can do to help, just let
19· ·me know.
20· · · · Q· · ·The --
21· · · · · · · When you were formally asked to be a witness or
22· ·to consider being a witness, was that an in-person meeting,
23· ·on the telephone, something else?
24· · · · A· · ·Via telephone.
25· · · · Q· · ·And Ms. Dietz and Mr. Schoep, were they both on


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·the telephone call?
·3· · · · A· · ·No.
·4· · · · Q· · ·Was it just Mr. Schoep?
·5· · · · A· · ·It was --
·6· · · · · · · At that particular time, just Ms. Dietz.
·7· · · · Q· · ·So Ms. Dietz reached out, and what did she say to
·8· ·you in that phone call?
·9· · · · A· · ·She said that we have this thing coming up, and
10· ·Jeff and I would like to know, you know, if you would
11· ·consider being a witness, and I said absolutely.
12· · · · Q· · ·And when she said "this thing coming up," what
13· ·was your understanding of "the thing"?
14· · · · A· · ·My understanding of "the thing" was the lawsuit
15· ·that is going to take place in Charlottesville -- or
16· ·regarding the incident in Charlottesville of August 12th.
17· · · · Q· · ·And did Ms. Dietz discuss with you what your
18· ·testimony as a witness would be about?
19· · · · A· · ·No, she did not.
20· · · · Q· · ·Did you have an understanding of what you would
21· ·have to offer as a witness in this case?
22· · · · A· · ·Oh, I know what I have to offer.· Yes, I do.
23· · · · Q· · ·Okay.· Would you --
24· · · · · · · What is it --
25· · · · · · · What is your understanding of what you have to


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·offer as a witness in this case?
·3· · · · A· · ·My understanding of what I have to offer as a
·4· ·witness in this case is my testimony as to my relationship
·5· ·with Jeff Schoep, both while he was in the movement and
·6· ·after he has gotten out and during our time together, which
·7· ·has been pretty extensive.
·8· · · · Q· · ·And what --
·9· · · · · · · And can you explain to me how your relationship
10· ·to Mr. Schoep provides -- gives you information that would
11· ·be relevant to this case?
12· · · · · · · What do you think you're going to be talking
13· ·about?
14· · · · A· · ·Well, I'm going to be talking about whatever you
15· ·ask me.· If I have information on that, I'll give it to you.
16· · · · Q· · ·Well, I'm not actually calling you as a witness.
17· ·So it's Mr. Schoep would be calling you as a witness.
18· · · · · · · So if you're not there as a witness, I won't be
19· ·asking you any questions.
20· · · · · · · What information do you believe you have that is
21· ·relevant to this case?
22· · · · A· · ·I believe I have a valid and relevant information
23· ·as to Mr. Schoep's past frame of mind and his current frame
24· ·of mind and the work that he has been doing since he has
25· ·left the movement, which I feel is very indicative of who he


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                                                                            Page 12
·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·is today.
·3· · · · Q· · ·All right.· Now, when you say --
·4· · · · · · · Just let me make sure I understand each piece of
·5· ·that.
·6· · · · · · · So in terms of his current frame of -- frame of
·7· ·mind and the work that he's been doing since he left the
·8· ·movement, what time period are you talking about?
·9· · · · A· · ·I'm talking about from 2016 through 2021, five
10· ·years.
11· · · · Q· · ·But when you're describing his current frame of
12· ·mind and his current work, is that the time period --
13· · · · A· · ·I thought you said from the time he left the
14· ·movement and his current frame of mind.
15· · · · · · · Well, in 2016 he was still in the movement.
16· · · · Q· · ·So let me just make sure we're getting this
17· ·straight, and I apologize if I caused you any confusion.
18· · · · · · · But you talked about one thing you would talk
19· ·about is his current frame of mind and his current work.
20· · · · A· · ·Correct.
21· · · · Q· · ·When you're talking about that current frame of
22· ·mind and that current work, what time period are you talking
23· ·about?
24· · · · A· · ·I would say 2018 -- early 2018 through the
25· ·present.


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · Q· · ·All right.· And when you talk about --
·3· · · · A· · ·Maybe late -- maybe late 2017.· I don't have an
·4· ·exact date.
·5· · · · Q· · ·And when you say you would have information that
·6· ·you think is relevant to this case about his past frame of
·7· ·mind, what time period are you talking about?
·8· · · · A· · ·I'm talking about 2016 and prior.
·9· · · · Q· · ·2016 and prior to 2016?
10· · · · A· · ·That is correct.
11· · · · Q· · ·You met him in 2016; is that right?
12· · · · A· · ·Pardon me?
13· · · · Q· · ·You met him in 2016, I thought you told me.
14· · · · A· · ·That is correct, yes.
15· · · · Q· · ·But you'd be testifying about his state of mind
16· ·before 2016?
17· · · · A· · ·Sir, I've been doing this kind of work for 37
18· ·years.
19· · · · Q· · ·And when you say "this type of work," what
20· ·type --
21· · · · · · · Well --
22· · · · A· · ·Of working --
23· · · · · · · Of working in the arena of race relations.
24· · · · Q· · ·But in terms of your testimony about Mr. Schoep's
25· ·state of mind, would it be your intention to testify about


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·his state of mind during the time period before you met him?
·3· · · · A· · ·Sure, absolutely.
·4· · · · Q· · ·And that would be because of the expertise that
·5· ·you believe you have from the field of your work; is that
·6· ·right?
·7· · · · A· · ·Yes, I have known --
·8· · · · · · · I've known about him for a long time.· I've
·9· ·followed his career for a long time.· Like I said, I've been
10· ·in this work for 37 years.
11· · · · · · · I knew his predecessor that gave birth to the NSM
12· ·long before he even joined it.
13· · · · Q· · ·So --
14· · · · · · · And if you were going to just discuss your
15· ·knowledge of Mr. Schoep's past frame of mind based on your
16· ·personal interactions, when would that begin?
17· · · · A· · ·That would probably begin back in the 1990s.
18· · · · Q· · ·Your personal interactions with Mr. Schoep?
19· · · · A· · ·You say personal --
20· · · · · · · Interactions with him in person you mean or my
21· ·observations of him throughout that time period?
22· · · · · · · I've seen --
23· · · · · · · I've seen him on TV talk shows.· I've seen him in
24· ·interviews.· I've read about him.
25· · · · · · · Like I said, I've been -- I've been doing this


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·kind of work for 37 years.
·3· · · · · · · Now, I've only known him personally since 2016,
·4· ·but that does not mean I didn't know anything about him
·5· ·prior to that.
·6· · · · Q· · ·And I appreciate you telling me this.· I just
·7· ·want to make sure I get this straightened out.
·8· · · · A· · ·Right.
·9· · · · Q· · ·In terms of your personal knowledge from your
10· ·personal interactions, that began in 2016.
11· · · · · · · You had knowledge about him from before that from
12· ·things you observed about him, whether it's in television,
13· ·media, whatever else you saw about him in public sources?
14· · · · A· · ·That is correct.
15· · · · Q· · ·The --
16· · · · · · · And based only on your personal interactions with
17· ·him, if I could ask you to do that.
18· · · · A· · ·Sure.
19· · · · Q· · ·And just from this answer to not discuss the
20· ·things you learned from your expertise or what you heard in
21· ·the media, but based on your personal interactions with him
22· ·in 2016 and 2017, what would you say about his state of mind
23· ·during that period of time?
24· · · · A· · ·Well, in 2016 he was still involved with the NSM,
25· ·and I interviewed him myself personally one on one.· He was


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·very friendly.· He was very intelligent.
·3· · · · · · · I saw someone who had, I would say, taken a
·4· ·different path, not a path that I would agree with.· But I
·5· ·also found him to be someone who, if shown a different idea
·6· ·and shown proof of a better path, that he would be one who
·7· ·would consider it.
·8· · · · · · · Now, that was back in 2016 when he was still
·9· ·involved in the NSM.
10· · · · Q· · ·And would you say the same about him in 2017?
11· · · · A· · ·Well, you know, like I said, I reconnected with
12· ·him either late 2017 or early 2018.
13· · · · · · · He had gone --
14· · · · · · · He had gone quiet for a while, and quiet I mean
15· ·like, you know, sort of like off the radar.
16· · · · · · · I had his phone number, and I telephoned him to
17· ·see, you know, where he was.· And we talked on the phone,
18· ·and I could see that he was -- he was considering different
19· ·things, a different path.· So, you know, there was a
20· ·transition going on.
21· · · · Q· · ·And the phone call you're describing took place
22· ·in late 2017 or 2018; is that correct?
23· · · · A· · ·I believe so, yes.
24· · · · Q· · ·And so from 2016 or when you first met him until
25· ·that phone call in late 2017 to 2018, am I correct that what


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·you would have to testify about at this trial about Mr.
·3· ·Schoep is that you thought he was someone who, if he was
·4· ·offered the appropriate information, might consider a
·5· ·different path?
·6· · · · A· · ·That is correct.
·7· · · · · · · You know, I mean, you know, there are people who
·8· ·believe a certain way, you know.· They only know what they
·9· ·know.· And until they are provided with a different
10· ·perception that resonates with them, they continue believing
11· ·that way.
12· · · · · · · And I believe that I offered Mr. Schoep a
13· ·different perception, and my belief turned out to be
14· ·correct.
15· · · · Q· · ·And you began offering him that different
16· ·perception in that phone call in late 2017?
17· · · · A· · ·No, sir.
18· · · · · · · I offered that --
19· · · · · · · I offered that to him in 2016 during my
20· ·interaction with him.
21· · · · Q· · ·Am I correct you did not feel you had any success
22· ·with him any earlier than late 2017 or --
23· · · · A· · ·No, I wouldn't -- I wouldn't say that.
24· · · · · · · I mean, we had -- we had conversations both on
25· ·camera and off camera.· And, like I said, I found him to be


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·very friendly, very accommodating, someone who was willing
·3· ·to listen, someone who was entrenched in his views, but also
·4· ·someone who would consider another point of view if it could
·5· ·be validated, and I provided him food for thought.                I
·6· ·believe --
·7· · · · · · · Now, people don't change overnight like a light
·8· ·switch, just flip it on and off, you know.· I think he had
·9· ·that seed planted.· He had those ideas imparted to him that
10· ·I provided, and over time he thought about it.
11· · · · · · · I believe he had a little cognitive dissonance
12· ·where he struggled with something different, as we all do
13· ·sometimes when we have believed a certain way for so long.
14· ·And I think other influences came in that supported the
15· ·things, you know, that I shared with him, and over time he
16· ·made that transition to leave the National Socialist
17· ·Movement and change his direction.
18· · · · Q· · ·And just so I understand the testimony you would
19· ·be giving at trial about his past state of mind during this
20· ·period in 2016 until your phone call in late 2017 or
21· ·early -- or 2018, what you would have to say is that if he
22· ·was provided the right information, he might consider a
23· ·different path.
24· · · · · · · Is there anything else that you would have to say
25· ·about him at trial during that -- during that period of


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·time?
·3· · · · A· · ·I'm sure there is but, I mean, it would depend
·4· ·upon what would be asked.
·5· · · · Q· · ·Is there anything else that you think that you
·6· ·would have to say that would be relevant to the case other
·7· ·than what I've just described?
·8· · · · A· · ·It depends --
·9· · · · · · · Again, it depends on what I'm asked.· I'm not
10· ·trying to be difficult.· I'm just --
11· · · · Q· · ·And I'm not suggesting you are being difficult.
12· ·The --
13· · · · · · · But my job is to learn what you would say at
14· ·trial.
15· · · · A· · ·Well, my job is to know what I'm going to be
16· ·asked.· I'm not just going to say any old thing.· I have to
17· ·be asked a particular question.
18· · · · Q· · ·Are you aware of any information that you think
19· ·is relevant to Mr. Schoep's state of mind -- relevant to
20· ·this case -- with respect to Mr. Schoep's state of mind in
21· ·2016 and 2017 other than that you believed he was the type
22· ·of person who, if he was given the right information, he
23· ·might consider a different path?
24· · · · · · · Are you aware of anything else other than that?
25· · · · A· · ·I really can't answer that at this time.· It's


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·just kind of vague to me.
·3· · · · Q· · ·Now, did Ms. Dietz tell you anything about what
·4· ·the plan would be for what you would say at trial?
·5· · · · A· · ·No, she did not.
·6· · · · Q· · ·Did Mr. Schoep have any discussions with you
·7· ·about what you might say at trial?
·8· · · · A· · ·No, he did not.
·9· · · · Q· · ·Did anyone --
10· · · · · · · Has anyone had any discussions with you about
11· ·what you might say at trial?
12· · · · A· · ·No one has discussed anything with me in regards
13· ·to what I would say at trial.
14· · · · Q· · ·So as far as you know -- and people haven't been
15· ·talking to you.
16· · · · · · · But as far as you know in terms of his past state
17· ·of mind, what you would offer at trial is what you've said:
18· ·That if provided the right information, he might consider a
19· ·different path?
20· · · · · · · That's what you would talk about, as far as you
21· ·know?
22· · · · A· · ·That is one of the things, yes.
23· · · · Q· · ·The --
24· · · · · · · Do you have any knowledge of Mr. Schoep's conduct
25· ·on August 11 or August 12 in Charlottesville -- August 11 or


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·August 12, 2017 in Charlottesville?
·3· · · · A· · ·Only what I have seen that was filmed in the
·4· ·media.
·5· · · · Q· · ·Has Mr. Schoep ever discussed with you anything
·6· ·about his conduct on those days?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·And what has he told --
·9· · · · A· · ·Well, I don't know about those days in
10· ·particular, but in reference to his past, you know, belief
11· ·system to his past ideology, if you will, which would
12· ·include those days.
13· · · · Q· · ·I'll come back and ask you about the ideology
14· ·that you just were referring to.
15· · · · · · · But just in terms of his conduct, has Mr. Schoep
16· ·told you about any of his conduct on August 11 or August 12
17· ·in Charlottesville?
18· · · · A· · ·No.
19· · · · Q· · ·Do you have any knowledge of Mr. Schoep's
20· ·involvement in any planning for the "Unite the Right" event
21· ·in Charlottesville?
22· · · · A· · ·No.
23· · · · Q· · ·You were not present in Charlottesville during
24· ·"Unite the Right"?
25· · · · · · · Am I right about that?


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · A· · ·That is correct.
·3· · · · Q· · ·And all of your knowledge of the "Unite the
·4· ·Right" events would come from things that you've read in the
·5· ·media or other public sources; is that correct?
·6· · · · A· · ·That is not correct.
·7· · · · · · · I know Jason Kessler pretty well, and I have met
·8· ·with him many times even before that and after that.
·9· · · · · · · So I'm familiar with him and his planning of it.
10· · · · Q· · ·All right.· So your knowledge of the events of
11· ·"Unite the Right" would be from what you've learned from the
12· ·media or public sources and from Mr. Kessler; is that
13· ·correct?
14· · · · A· · ·That is correct.
15· · · · Q· · ·And has Mr. Schoep ever expressed to you any
16· ·remorse about his conduct on August 11 or August 12?
17· · · · A· · ·Mr. Schoep has expressed remorse to me about his
18· ·belief system, his ideology, which would incorporate those
19· ·days that you mentioned, but not just specifically to those
20· ·days, from his life from joining that ideology 27 years ago
21· ·through the present -- well, rather through late 2017, early
22· ·2018.
23· · · · Q· · ·Now, my question wasn't quite about his beliefs.
24· · · · · · · So I understand now --
25· · · · A· · ·I thought you said about his remorse.


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · Q· · ·Remorse about his conduct.
·3· · · · · · · So the --
·4· · · · · · · So let me go over it again.
·5· · · · · · · You've indicated that Mr. Schoep has indicated to
·6· ·you remorse over his past beliefs and ideology, but has he
·7· ·ever expressed remorse to you about his conduct in
·8· ·connection with the "Unite the Right" events in
·9· ·Charlottesville?
10· · · · A· · ·I'm not sure what you mean by "conduct."
11· · · · · · · Could you be a little more specific?
12· · · · Q· · ·I mean anything he did with respect -- in
13· ·connection with the "Unite the Right" events.
14· · · · A· · ·Well, he aired his views.· What I saw on the
15· ·media was him standing with a microphone or something airing
16· ·his views.· To me, that is part of conduct.· And what he was
17· ·expressing was his beliefs, which is what he has aired
18· ·remorse to me about.
19· · · · · · · So if you want to consider expressing one's
20· ·beliefs as part of his conduct then, yes, he has expressed
21· ·remorse about his conduct.
22· · · · Q· · ·All right.· Has he described to you whether he
23· ·was engaged in any violent acts on those two days?
24· · · · A· · ·No.
25· · · · Q· · ·Has he expressed any remorse for any physical


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·acts that he engaged in as part of the "Unite the Right"
·3· ·events?
·4· · · · A· · ·No, I'm not aware of any of that.
·5· · · · Q· · ·Has he expressed any remorse for any involvement
·6· ·he had in the planning of "Unite the Right"?
·7· · · · A· · ·He has expressed remorse with being a part of it.
·8· · · · Q· · ·And when you say "being a part of it," what do
·9· ·you mean?
10· · · · A· · ·Being there, being there that day, partaking in
11· ·trying to promote that ideology.
12· · · · Q· · ·And when was the first time he expressed that
13· ·remorse?
14· · · · A· · ·Well, I would say probably during that phone call
15· ·and then throughout -- throughout our relationship since
16· ·then.
17· · · · Q· · ·So he first expressed some remorse about
18· ·attending the "Unite the Right" events in a phone call in
19· ·late 2017 or 2018 with you; is that right?
20· · · · A· · ·You know, you keep harping on those two days.· He
21· ·doesn't always get specific with those two days, you know.
22· ·He talks about his past, and his past includes those two
23· ·days.
24· · · · · · · MR. REBROOK:· This is Edward ReBrook.· Let me
25· · · · stop you right there, Daryl.


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · · · · If you all could just avoid putting words in his
·3· · · · mouth and just listen to what he said rather than
·4· · · · twisting it into something that it isn't.· I would
·5· · · · appreciate it.
·6· · · · · · · And I'd also appreciate it if you didn't make me
·7· · · · explain what I'm saying since you absolutely know what
·8· · · · I'm fucking saying.· Thank you.
·9· · · · · · · MR. ISAACSON:· I don't --
10· · · · · · · That was not a proper objection, and no one was
11· · · · quoting you, Mr. ReBrook.
12· · · · · · · MR. KOLENICH:· You can resume talking.
13· · · · · · · MR. ISAACSON:· I do appreciate that.
14· ·BY MR. ISAACSON:
15· · · · Q· · ·The --
16· · · · · · · Mr. Davis, did Mr. Schoep --
17· · · · · · · I understand Mr. Schoep expressed remorse for
18· ·ideology and beliefs over a period of time that would
19· ·include August 2017.
20· · · · · · · Did he ever express any remorse to you about
21· ·anything he did specifically in connection to the "Unite the
22· ·Right" events?
23· · · · A· · ·No.
24· · · · · · · I'll say, no, not by name.
25· · · · Q· · ·And have you had any discussions with Mr. Schoep


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·about what you think you'd be able to testify about at this
·3· ·trial?
·4· · · · A· · ·I have not.
·5· · · · Q· · ·Have you had any discussions with anybody before
·6· ·this deposition about what you might be able to testify
·7· ·about at this trial?
·8· · · · A· · ·I have not.
·9· · · · Q· · ·And do you intend to provide testimony that Mr.
10· ·Schoep did not engage in racially motivated violence on
11· ·August 11 or August 12 in Charlottesville?
12· · · · A· · ·I was not present in Charlottesville.
13· · · · · · · From what I saw, I did not see Mr. Schoep --
14· · · · · · · From what I saw in the media, I did not see Mr.
15· ·Schoep engaging in physical violence.
16· · · · · · · I saw a lot of physical violence that day in the
17· ·media.· I saw films of it, things like that.· I did not see
18· ·him engaging in physical contact or violence.
19· · · · · · · I saw him expressing his beliefs, beliefs with
20· ·which I did not agree, but -- you know, which may have
21· ·motivated different people to act in different ways, but I
22· ·did not see him engaging, as you put it, in physical
23· ·violence.
24· · · · Q· · ·You would not be able to testify about whether
25· ·Mr. Schoep engaged in racially motivated violence on


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·August 11 or August 12 in Charlottesville, except based on
·3· ·what you saw in the media; is that right?
·4· · · · A· · ·I did not see Mr. Schoep engaging in any physical
·5· ·violence myself.
·6· · · · Q· · ·And all you saw was in the media?
·7· · · · A· · ·All I saw of what?
·8· · · · Q· · ·Of Mr. Schoep on those days.
·9· · · · A· · ·That is correct.
10· · · · Q· · ·Do you intend to provide any testimony that Mr.
11· ·Schoep did not conspire with others to engage in racially
12· ·motivated violence in Charlottesville during the "Unite the
13· ·Right" events?
14· · · · A· · ·I have no knowledge of what he conspired, if you
15· ·want to call it that, or did not conspire to do.
16· · · · · · · All I saw of Mr. Schoep on those days, which you
17· ·mentioned being August 11 and August 12, 2017, all I saw of
18· ·Mr. Schoep on those days was what I saw that was on the
19· ·TV -- on the media.
20· · · · · · · I'm not aware of any meetings he may have had or
21· ·may not have had with anyone else, as you called, to
22· ·conspire.
23· · · · Q· · ·Let me ask you, if I can, a little about your
24· ·background.
25· · · · A· · ·Sure.


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · Q· · ·Now, when you first met Mr. Schoep in 2016, how
·3· ·frequently were you talking with him during 2016 and 2017?
·4· · · · A· · ·I only spoke with him that one day in 2016 until
·5· ·I -- you know, for the documentary.· I spoke with him on
·6· ·camera and off camera.· And then I did not speak with him
·7· ·again until I called him on the phone a little over a year
·8· ·later, maybe late 2017 or early 2018.
·9· · · · Q· · ·All right.· So your entire personal interactions
10· ·with Mr. Schoep from your first -- during 2016 and 2017 --
11· · · · · · · Let me start that over.
12· · · · · · · You met Mr. Schoep at a meeting you described in
13· ·2016, and you had no communications with him after that
14· ·until your phone call, which happened in either late 2017 or
15· ·2018; is that right?
16· · · · A· · ·That is correct.
17· · · · · · · I believe that I met him in 2016 -- in early
18· ·2016.· It may have been 2015 because the movie came out in
19· ·2016 but, you know, we were still filming in 2016.· You
20· ·know, I could have met him in 2015 late or early 2016.                 I
21· ·don't recall the exact date.
22· · · · · · · I could get it for you, if you need it, but I
23· ·don't recall it off the top of my head.
24· · · · Q· · ·Would you --
25· · · · · · · Would you describe your first meeting with him in


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·2015 or 2016?
·3· · · · · · · What happened?
·4· · · · A· · ·Okay.· Well, I was in Alabama, and I had gone to
·5· ·the Southern Poverty Law Center to interview the people
·6· ·there about white supremacy and do some other things while I
·7· ·was there, interview some other people.
·8· · · · · · · And Mr. Schoep had come down from Detroit.                 I
·9· ·believe it was Detroit.· He drove down.· The producers of
10· ·the movie, the documentary, had invited him to come down and
11· ·have a conversation with me.
12· · · · · · · I knew who he was.· I don't know that he knew who
13· ·I was, but I knew who he was.
14· · · · · · · And the way they had it set up, we were going to
15· ·sit in a little dive bar and -- hot dog/hamburger grill
16· ·place that was famous because Hank Williams, the father of
17· ·country music, who's from Montgomery, Alabama, used to
18· ·frequent there, and he wrote his big hit, "Hey, Hey,
19· ·Good-Looking" sitting at the bar -- at the counter there.
20· · · · · · · So they were going to set up a booth for Mr.
21· ·Schoep and I to sit across from one another and have this
22· ·conversation about white supremacy, my views, his views, et
23· ·cetera.
24· · · · · · · I was to wait in the hotel.· They had a rental
25· ·car for me.· And when they got it all set up and got the


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·cameras all set and the lighting right and whatever else,
·3· ·they were going to notify me, call me, and I was to come in.
·4· ·Mr. Schoep would already be sitting at the table, and I was
·5· ·to come in, we would meet, sit down, and engage in the
·6· ·conversation.
·7· · · · · · · Well, they called me.· They said they were ready.
·8· ·And so I got inside the rental car.· I drove to the
·9· ·location.· And when I pulled up, Mr. Schoep was sitting
10· ·outside on this bench right outside this hot dog stand and
11· ·grill, sitting there with a young lady.
12· · · · · · · And, you know, I had never met him before, but I
13· ·knew who he was.· I had been seeing him for years, you know,
14· ·and I recognized him.· I thought the guy was supposed to be
15· ·inside.· Here he is sitting outside.
16· · · · · · · So I got out of the van, and I -- I mean the
17· ·vehicle, and I walked over, and I said, are you Jeff Schoep?
18· ·He said, yes.· I put my hand out, I shook his hand, and he
19· ·introduced his friend, and we just started talking.
20· · · · · · · We were having just a friendly conversation like
21· ·anybody else, nothing to do with race, this, that or the
22· ·other.· How you doing, blah, blah, blah?· Where did you come
23· ·in from?· How was your drive?· That kind of thing.· He was
24· ·just an ordinary friendly individual.
25· · · · · · · And I said, well, I guess, you know, we blew the


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·producer and director's idea of me coming in and meeting you
·3· ·for the first time on camera because here we are.
·4· · · · · · · And so we talked a little bit more, and then we
·5· ·headed on in.· And sure enough, you know, the producer and
·6· ·director were in there, and they were shocked to see us come
·7· ·in together, but they carried on with the film.
·8· · · · · · · We sat down, and we began our -- we began our
·9· ·conversation.· I asked him questions.· He answered them.                  A
10· ·lot of it was friendly, and then at one point he flipped
11· ·into Neo-Nazi mode, I guess, and started advocating, you
12· ·know, for white supremacy, you know, that he would fight to
13· ·the last bullet, you know, for his people and this, that and
14· ·the other, and he says, you know, black people have the
15· ·NAACP and groups to advocate for black rights and, you know,
16· ·I have a group that advocates for white rights.
17· · · · · · · And I said, well, you know what?· The NAACP also
18· ·has white members, you know.· Do you have any black members
19· ·in your group?· Can I join your group?
20· · · · · · · No.· No.
21· · · · · · · And I said, well --
22· · · · · · · He says, you know, you have people who are
23· ·advocating for black rights.· You had Martin Luther King,
24· ·Jr.
25· · · · · · · And I said, so are you saying you're like a white


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·1· · · · · · · · · · · · · · ·D. DAVIS
·2· ·Martin Luther King Jr or something?
·3· · · · · · · You know, we went back and forth, and we had some
·4· ·amusing moments where we both shared a laugh at something
·5· ·that was ridiculous because I caught him in something that
·6· ·he realized did not make any sense, and I pointed it out to
·7· ·him, and we laughed about it, and he agreed, you know, that
·8· ·he was flawed in his assertion.
·9· · · · · · · And after that was all over, I pulled him aside
10· ·and talked with him privately about some things.· And he
11· ·gave me his phone number, I gave him mine, and we agreed to
12· ·stay in touch.· And the next time we got in touch was when I
13· ·called him about a year or so later.
14· · · · Q· · ·In late 2017 or 2018?
15· · · · A· · ·That is --
16· · · · · · · To the best of my knowledge, that would be right.
17· · · · Q· · ·So just so I can understand, so you had a meeting
18· ·with Mr. Schoep in connection with the documentary in
19· ·Montgomery, Alabama in 2015 or 2016; is that correct?
20· · · · A· · ·Correct.
21· · · · · · · You can --
22· · · · · · · You can get that documentary and see the
23· ·interaction on film.
24· · · · Q· · ·I'm aware of that.
25· · · · A· · ·Okay.


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                                                                            Page 56
·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · Q· · ·And you met him for a few minutes outside before
·3· ·you went in to get filmed?
·4· · · · A· · ·Correct.
·5· · · · Q· · ·And was the rest of your interaction with him all
·6· ·on film?
·7· · · · A· · ·The rest of my interaction was on film.· And then
·8· ·after the filming was over, I had some more interaction with
·9· ·him just privately, he and I.
10· · · · Q· · ·And that private interaction after the filming,
11· ·did that last a few minutes?
12· · · · A· · ·Yes.
13· · · · Q· · ·And what was the amount of time you spent with
14· ·him on film?
15· · · · A· · ·I don't remember.
16· · · · · · · We probably spent over an hour but, you know, of
17· ·course they edited it down to, you know, a few minutes in
18· ·the movie.
19· · · · Q· · ·That's why I asked.
20· · · · A· · ·Yeah.
21· · · · Q· · ·So during the time you were filming, the time you
22· ·spent together was approximately an hour?
23· · · · A· · ·While we were filming, probably --
24· · · · Q· · ·So --
25· · · · A· · ·-- or more.


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                                                                            Page 57
·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · Q· · ·In terms of time you spent with him before your
·3· ·phone call in 2017 and 2018, it was a few minutes before
·4· ·filming, an hour -- approximately an hour during filming,
·5· ·and a few minutes afterwards?
·6· · · · · · · Do I have that right?
·7· · · · A· · ·That is correct.
·8· · · · Q· · ·And at one point during the filming, he flipped
·9· ·into what you called "Neo-Nazi mode."
10· · · · · · · Is that correct?
11· · · · A· · ·That is correct.
12· · · · Q· · ·And one of the things he talked -- said is, I'm
13· ·going to fight for -- I'll fight for the last bullet for my
14· ·people?
15· · · · A· · ·I will fight to the last bullet for my people.
16· · · · Q· · ·Did you know of his involvement in forming the
17· ·Nationalist Front -- Mr. Schoep?
18· · · · A· · ·No.
19· · · · · · · I'm aware of the Nationalist Front but, no, I'm
20· ·not aware of that.
21· · · · Q· · ·Do you understand the Nationalist Front is an
22· ·alliance of organizations?
23· · · · A· · ·Yes.
24· · · · Q· · ·And an alliance of white supremacist
25· ·organizations?


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                                                                            Page 69
·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · The time is 6:33 p.m.
·3
·4· · · · · · · (Whereupon, the deposition was concluded at
·5· · · · 6:33 p.m.)
·6· · · · · · · · · · · · · · · __________________________
·7· · · · · · · · · · · · · · · DARYL DAVIS
·8· ·Subscribed and sworn to before me this
·9· ·___ day of ____________, 2021.
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                                                                            Page 70
·1
·2· · · · · · · · · · · ·C E R T I F I C A T E
·3
·4· · · · · · · I, Gina Williams, Registered Professional
·5· ·Reporter, certify that I was authorized to and did
·6· ·stenographically report the foregoing deposition; and that
·7· ·the transcript is a true record of the testimony given by
·8· ·the witness; that the witness did not waive reading and
·9· ·signing.
10· · · · · · · I further certify that I am not a relative,
11· ·employee, attorney, or counsel of any of the parties, nor am
12· ·I a relative or employee of any of the parties' attorney or
13· ·counsel connected with the action, nor am I financially
14· ·interested in this action.
15· · · · · · · IN WITNESS WHEREOF, I have hereunto set my hand
16· ·this 16th day of October, 2021.
17
18· · · · · · · · · · · · ______________________________________
19· · · · · · · · · · · · Gina Williams, RPR, CRR, CRC
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                                                                            Page 71
·1· · · · · · · · · · · · · · ·D. DAVIS
·2· · · · · · · · · · · · · · I N D E X
·3· ·DARYL DAVIS
·4· · · · EXAMINATION BY ISAACSON· · · · · · · · · · · · · · 7
·5· · · · · · · · · · · · · E X H I B I T S
·6· ·EXHIBIT NO.:
·7· ·(No exhibits marked.)
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·1· · · · · · · · · · ERRATA SHEET

·2· Case Name:

·3· Deposition Date:

·4· Deponent:

·5· Pg.· No. Now Reads· · ·Should Read· Reason

·6· ___· ___ __________· · __________· ·____________________

·7· ___· ___ __________· · __________· ·____________________

·8· ___· ___ __________· · __________· ·____________________

·9·   ___·   ___   __________·   ·   __________·     ·____________________
10·   ___·   ___   __________·   ·   __________·     ·____________________
11·   ___·   ___   __________·   ·   __________·     ·____________________
12·   ___·   ___   __________·   ·   __________·     ·____________________
13·   ___·   ___   __________·   ·   __________·     ·____________________
14·   ___·   ___   __________·   ·   __________·     ·____________________
15·   ___·   ___   __________·   ·   __________·     ·____________________
16·   ___·   ___   __________·   ·   __________·     ·____________________
17·   ___·   ___   __________·   ·   __________·     ·____________________
18·   ___·   ___   __________·   ·   __________·     ·____________________
19·   ___·   ___   __________·   ·   __________·     ·____________________
20
· ·   · · · · · · · · · · · · · · · · _____________________
21·   · · · · · · · · · · · · · · · · Signature of Deponent
22·   SUBSCRIBED AND SWORN BEFORE ME
23·   THIS ____ DAY OF __________, 2021.
24·   ____________________
25·   (Notary Public)· ·MY COMMISSION EXPIRES:__________


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